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IN THE UNITED STATES DISTRICT COUR.T

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COURTNEY MONTEZ MEANS ,

Plaintiff,
vs. Civ. Nb. 03-2352-M1[P

SI'IELBY COUN‘I'Y, et al.,

Defendants.

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ORDER DEN'Y'ING AS MOOT PLAINTIFF'S MOTION TO COMPEL

 

Before the court is plaintiff's Motion to Compel, filed June
24, 2005 (dkt #115). On August 25, 2005, the court held a hearing
on the motion. Counsel for all interested parties were present and
heard. At the hearing, the parties informed the court that they
have since resolved the discovery disputes at issue, and that
plaintiff wished. to withdraw the motion. On this basis, the

plaintiff's motion to compel is DENIED as moot.

"C;PE@L,_

'I'U M. PHAM
United States Magistrate Judge

P\v§gdt' 31 ,L boy

Date V

IT IS SO ORDERED.

Th!s document entered on the docket sheet |n compliance

with Hule 58 and/or 79(3.) FHCP on ' " y

 

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This notice confirms a copy of the document docketed as number 135 in
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Eugene C. Gaerig

LAW OFFICES OF EUGENE C. GAERIG
100 N. Main Street

Ste. 31 18

1\/1emphis7 TN 38103

Earle J. SchWarZ
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

Courtney Montez Means
SCJ-MEMPHIS

03 1 0 1 5 57

201 Poplar Ave.
1\/1emphis7 TN 3 8103

Honorable .1 on McCalla
US DISTRICT COURT

